Case 1:02-cV-01282-.]DB-tmp Document 35 Filed 06/09/05 Page 1 of 32 Page][_) 56

IN THE UNITED STATES DISTRICT COURT ‘~` m -D_r.
FOR THE WESTERN DISTRICT oF TENNESSEE 05 JUH __ "
AT JACKSON 9 PH L,_. 33
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.. ‘ ~ f»\€ 341 '“ '
DAVID LUGO, § W_D_ O'{,_j iii g qi,é§oé;?
. . j"i*""FI°’HIS
Plamtiff, )
) Case No.: 1:02-1282-Bre/P
v. )
)
CORRECTIONS CORPORATION )
OF AMERICA, et al.., )
)
Defendants. )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on lune 24, 2005. This matter being
agreeable with the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the

scheduled Status Conference on June 24, 2005.

Dated: this l day of 311ch ,2005.

-J-DANPE~I:-B»REEN -7;, m Pk q m
UNITEI) sTATEs-Brs¥a+€-'F JUDGE

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APPROVED FOR ENTRY:

Ti'~is document entered on the docket :n(§ ace ;on‘.pna.'.ce
with Ru!e 58 and/or 79(&} FRCP on

Case 1:02-cV-01282-.]DB-tmp Document 35 Filed 06/09/05 Page 2 of 3 Page|D 57

 

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CERTIFICATE OF SERVICE

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1 126,
Knoxvi]le, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, sc 29201 on June@¢_&r, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
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Honorable .l. Breen
US DISTRICT COURT

